                                                                   Case 2:17-bk-19548-NB            Doc 615 Filed 11/11/22 Entered 11/11/22 08:53:23   Desc
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                                                                   7
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                   8
                                                                                                                LOS ANGELES DIVISION
                                                                   9
                                                                       In re:                                           Case No.: 2:17-bk-19548-NB
                                                                  10
                                                                       LAYFIELD & BARRETT, APC,                         Chapter 11
                                                                  11
                                                                                                                        PROOF OF SERVICE OF NOTICE OF
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                                      Debtor.
                                                                  12                                                    HEARING ON AND SUMMARY OF
                                                                                                                        STIPULATION TO RE-CONVERT CASE
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                    FROM CHAPTER 11 TO CHAPTER 7 OF
                                           ATTORNEYS AT LAW




                                                                                                                        THE UNITED STATES BANKRUPTCY
                                                                  14                                                    CODE

                                                                  15                                                    [Relates to Docket No. 614]

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON AND SUMMARY OF
STIPULATION TO RE-CONVERT CASE FROM CHAPTER 11 TO CHAPTER 7 OF THE UNITED STATES
BANKRUPTCY CODE will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 10, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 10, 2022, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Philip Layfield
FCI Texarkana
4001 LEOPARD DRIVE
TEXARKANA, TX 75501
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 11, 2022                      Nancy H. Brown                                        /s/ Nancy H. Brown
 Date                                    Printed Name                                         Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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                                           In Re Layfield & Barrett, APC
                                            Case No. 2:17-Bk-19548-NB



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